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                                     UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF IOWA
                                           CENTRAL DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                                                         No. 4:23-cv-00144-SHL-SBJ

         v.


JAMES HUYSER; MATTHEW KINLEY;
KENNETH BOYLE; JEFFREY W. CARTER;                                         APPEARANCE OF COUNSEL
and JWC INVESTMENTS, L.C.,

         Defendants.



         The undersigned attorney hereby enters his appearance as additional counsel for Defendant

Kenneth Boyle in the above-captioned matter.



                                                           THE WEINHARDT LAW FIRM

                                                           By:      /s/ Jason R. Smith
                                                                 Jason R. Smith            AT0014862
                                                                 2600 Grand Avenue, Suite 450
                                                                 Des Moines, IA 50312
                                                                 Telephone: (515) 244-3100
                                                                 E-mail: jsmith@weinhardtlaw.com

                                                                 ATTORNEY FOR DEFENDANT KENNETH
                                                                 BOYLE


                       PROOF OF SERVICE
 The undersigned certifies that the foregoing instrument was
 served upon the parties to this action by serving a copy upon each
 attorney of record on November 28, 2023, by CM/ECF.


 Signature:    /s/ Lisa Murrill




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